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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                        )
                                                 )
       Plaintiff,                                )
                                                 )
vs.                                              )       No. 01-cr-40036-004 JPG
                                                 )
DIMARCUS TARAH TABB,                             )
                                                 )
       Defendant.                                )

                               MEMORANDUM AND ORDER

       This matter comes before the Court on defendant Dimarcus Tarah Tabb’s pro se motion

for a reduction of his criminal sentence pursuant to 18 U.S.C. § 3582(c)(2) and United States

Sentencing Guideline Manual (“U.S.S.G.”) § 1B1.10 (Doc. 168). The Court appointed counsel

for Tabb, and counsel has moved to withdraw on the basis that she can make no non-frivolous

arguments in support of the defendant’s request (Doc. 197). See Anders v. California, 386 U.S.

738, 744 (1967). The government has responded to the motions (Doc. 2000). Tabb failed to

respond to counsel’s motion although he was given an opportunity to do so.

       Tabb pled guilty to one count of conspiring to distribute and possess with intent to

distribute 50 grams or more of crack cocaine and three counts of distributing crack cocaine. At

sentencing, the Court found by a preponderance of the evidence that Tabb’s relevant conduct

was at least 50 grams but less than 150 gram of crack cocaine, which under United States

Sentencing Guideline Manual1 (“U.S.S.G.”) § 2D1.1 yielded a base offense level of 32. His

offense level was reduced by three points under U.S.S.G. § 3E1.1 for acceptance of

responsibility/ providing substantial assistance to the government. The Court further found that


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        Unless otherwise noted, the references to the guidelines in this order are to the 2001
United States Sentencing Guidelines Manual.
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Tabb was a career offender under U.S.S.G. § 4B1.1 based on prior drug or violent felony

convictions. This finding raised his offense level to 37, again reduced by 3 for acceptance of

responsibility and reduced by 3 pursuant to U.S.S.G. § 5K1.1 for substantial assistance, yielding

a total offense level of 31. Considering Tabb’s criminal history category of VI, established by

his career offender status under U.S.S.G. § 4B1.1, this yielded a sentencing range of 188 to 235

months in prison. The Court imposed a sentence of 200 months for each count, less than the

statutory maximum sentences established by Tabb’s convictions. See 21 U.S.C. § 841(b)(1)(A)

& (C). Tabb now asks the Court to apply recent changes to U.S.S.G. § 2D1.1 to lower his

sentence.

       Section 3582(c)(2) allows the Court to reduce a defendant’s previously imposed sentence

where “a defendant . . . has been sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C.

994(o).” In doing so, the Court must consider the factors set forth in 18 U.S.C. § 3553(a) and

must ensure that any reduction “is consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(2). Thus, a defendant urging a sentence

reduction under § 3582(c)(2) must satisfy two criteria: (1) the Sentencing Commission must

have lowered the applicable guideline sentencing range, and (2) the reduction must be consistent

with applicable policy statements issued by the Sentencing Commission. If the defendant cannot

satisfy the first criterion, the Court has no subject matter jurisdiction to consider the reduction

request. United States v. Lawrence, 535 F.3d 631, 637-38 (7th Cir. 2008); see United States v.

Forman, 553 F.3d 585, 588 (7th Cir.), cert. denied sub nom McKnight v. United States, 129 S.

Ct. 1924 (2009).


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       Tabb cannot satisfy the first criteria because he was not “sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission pursuant to 28 U.S.C. 994(o).” 18 U.S.C. § 3582(c)(2). Amendments 706 and 711

amended U.S.S.G. § 2D1.1(c) as of November 1, 2007, to lower by two points the base offense

levels associated with various amounts of crack cocaine. The Sentencing Commission amended

U.S.S.G. § 2D1.1(c) intending to alter the disparity in sentences involving crack cocaine and

sentences involving powder cocaine. Tabb, however, was sentenced based on his base offense

level set forth in U.S.S.G. § 4B1.1, not his base offense level set forth in U.S.S.G. § 2D1.1. See

Forman, 553 F.3d at 589-90. Thus, his guideline range has not been lowered, and he cannot

satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for obtaining a sentence reduction.

       Because Tabb cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for obtaining

a sentence reduction, the Court does not have subject matter jurisdiction to consider his

reduction request. See Forman, 553 F.3d at 588; Lawrence, 535 F.3d at 637-38. The Court

therefore GRANTS counsel’s motion to withdraw (Doc. 197 and DISMISSES Tabb’s motion

for a sentence reduction (Doc. 168) for lack of jurisdiction.

       The Clerk of the U.S. District Court is hereby Ordered to mail a copy of this Order to

Defendant Dimarcus Tarah Tabb, Reg. No. 05322-025, FCI Memphis, P.O. Box 34550,

Memphis, TN 38134.

IT IS SO ORDERED.
DATED: June 9, 2009.


                                              s/ J. Phil Gilbert
                                              J. PHIL GILBERT
                                              U.S. DISTRICT JUDGE


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